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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,               )        Case No. 8:13CB6
                                        )        Violation Notice No. 1753364 NE14
                                        )
                             Plaintiff, )
         vs.                            )            ORDER
                                        )
                                        )
JOHNNY D. MARTIN,                       )
                                        )
                             Defendant. )


     IT IS ORDERED:

       The court grants the defendant’s request to extend the time in which to pay his fine.

This matter is scheduled for hearing on August 27, 2013 at 9:00 a.m. in Courtroom No. 7,

Second Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,

Nebraska. The defendant shall either pay the fine in full before this date or shall appear

at hearing time, or a warrant shall issue for his arrest.

       Dated this 25th day of June, 2013.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
